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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Federal National Mortgage Association
                                             Plaintiff,
v.                                                          Case No.: 1:14−cv−04664
                                                            Honorable Andrea R. Wood
George L. Obradovich, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 18, 2017:


        MINUTE entry before the Honorable Andrea R. Wood: Unopposed Motion for
extension of time to file dispositive motion [163] is granted. Dispositive motions shall be
filed by 12/18/2017. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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